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                                                                                                                                                                      Page 1 of 20 PageID




                                                                                                                                                                                                       Your Order
           Lake Nona Deli & Market
           8510 Insular Ln, Orlando, FL 32827
           407-305-6423                 ( 227 )
                                                                                                                                                                                           Delivery or Pickup available
           Open until 8:30 PM Full Hours




         Most Popular Items           Pizzas      Specialty Pizza   Pizzas Premium   Pastas        Calzones       Appetizers   Sandwiches        Soups   Salads   Super Foods   Desserts



       Most Popular Items

         Cheese Pizza                                                                    Classic Meat Pizza
         Classic cheese or create your own pizza.                                        Pepperoni, sausage, ham, and bacon.


         $ 16.30                                                                         $ 21.25




         Chicken Parmesan Sandwich                                                       Impossible Burger with Chips
         Breaded chicken in marinara sauce with mozzarella                               Brioche bread, veggie patty, cheddar cheese,
         and Parmesan cheese.                                                            lettuce, tomatoes, onions, pickles, ketchup,
                                                                                         mustard, and mayonnaise.
         $ 12.48                                                                         $ 11.56




         Cachapa with Cheese                                                             Smoothies
         Sweet corn pancakes with fresh soft white cheese.                               Your choice of flavor.


         $ 12.36                                                                         $ 6.10




 Need help?Classic Supreme Pizza                                                         Steak & Cheese Sandwich
           Pepperoni, sausage, ham, onions, green peppers,                               Shaved ribeye, provolone, onions, green peppers,
           mushrooms, banana peppers, and black olives.                                  and mushrooms.
         $ 21.25                                                                         $ 12.80




         Cuban Sandwich                                                                  Garlic Knots
         House-made roast pork, ham, Swiss, pickles, and                                 A classic snack, our garlic knots are strips of pizza
         mustard.                                                                        dough tied in a knot, baked, and then topped with
                                                                                         melted butter, garlic, and parsley.
         $ 12.80                                                                         $ 5.62




       Pizzas

         Cheese Pizza
         Classic cheese or create your own pizza.


         $ 18.00




       Specialty Pizza

         Adore Deli Pizza                                                                Buffalo Chicken Pizza
         Mixed marinara and alfredo sauce, mozzarella,                                   Breaded chicken breast, buffalo sauce, mozzarella,
         onions, bacon, mushrooms, and parmesan cheese.                                  and blue cheese crumbles.
         $ 22.00                                                                         $ 22.00




         Marisa Pizza                                                                    Bianca Pizza
         Mozzarella, sundried tomatoes, goat cheese,                                     Alfredo sauce, mozzarella, ricotta cheese, parsley
         prosciutto, and arugula.                                                        flakes, and garlic oil.
         $ 25.00                                                                         $ 22.00




         Classic Supreme Pizza                                                           Vegetarian Pizza
         Pepperoni, sausage, ham, onions, green peppers,                                 Onions, green peppers, tomatoes, mushrooms,
         mushrooms, banana peppers, and black olives.                                    banana peppers, and black olives.
         $ 25.00                                                                         $ 20.00




         Classic Meat Pizza                                                              Margherita Pizza
         Pepperoni, sausage, ham, and bacon.                                             Pizza red sauce, tomatoes, pesto, and mozzarella.


         $ 25.00                                                                         $ 20.00




         Chicken Pesto Pizza                                                             Hawaiian Pizza
         Pesto base, chicken, mozzarella, and tomatoes.                                  Ham and pineapple.
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   $ 22.00                                                $ 22.00




   BBQ Chicken Pizza                                      Vegan Pizza
   BBQ chicken, red onions, mushrooms, bacon, and         Marinara sauce, chickpeas, broccoli, onions,
   BBQ sauce.                                             tomatoes, mushrooms and arugula.
   $ 23.00                                                $ 22.00




  Pizzas Premium

   Carbonara                                              Napolitana Quattro Formaggi
   Alfredo base, mozzarella, bacon, onion, grilled        Marinara base, mozzarella, blue cheese, provolone,
   chicken                                                parmesano
   $ 49.50                                                $ 49.50




   Amore Mio                                              Napolitana
   Alfredo base, mozzarella, mushroom, onion, goat        Marinara base, mozzarella, tomato, basil, parmesano
   cheese, honey
   $ 49.50                                                $ 49.50




   Bianca Quattro Formaggi                                Prosciutto e Funchi
   Alfredo Base, mozarella, blue cheese, provolone,       Pizza sauce, mozzarella, mushroom, prosciutto
   parmesano
   $ 49.50                                                $ 49.50




  Pastas

   Ziti Marinara                                          Ziti Brocoli
                                                          Broccoli, garlic, and olive oil.


   $ 12.10                                                $ 13.20




   Ziti Marinara with Meatballs                           Ziti Mushrooms
                                                          Mushrooms, garlic butter, alfredo sauce, white wine,
                                                          and parmesan cheese.
   $ 13.20                                                $ 14.00




   Ziti Marinara with Chicken Parmigiana                  Ziti Pesto
   Breaded chicken with marinara or alfredo sauce,
   mozzarella cheese, and parmesan cheese.
   $ 14.00                                                $ 12.10




   Ziti Adore                                             Ziti Alfredo
   Mixed marinara with alfredo.


   $ 12.60                                                $ 12.10




   Baked Ziti
   Ziti baked with ricotta, mozzarella, marinara sauce,
   Parmesan cheese, and parsley flakes.
   $ 13.20




  Calzones

   Calzone                                                Vegan Calzone
   Mozzarella, ricotta, and a side of marinara sauce.     Marinara sauce, chickpeas, broccoli, onions,
                                                          tomatoes, and mushrooms, topped with arugula.
   $ 20.00                                                $ 22.50




  Appetizers

   Bruschetta                                             Garlic Bread
   Garlic, pesto, onions, tomatoes, and shredded          Bread, topped with garlic, herb seasoning, baked to
   mozzarella.                                            perfection.
   $ 9.20                                                 $ 4.37




   Sliders                                                Garlic Bread with Cheese
   Garlic knots stuffed with choice of pepperoni or       French garlic bread with cheese served with
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   meatballs, topped with mozzarella cheese.             marinara sauce.

   $ 8.80                                                $ 4.80




   Mozzarella Sticks                                     Garlic Knots
   Deep fried cheese sticks. Crispy on the outside,      A classic snack, our garlic knots are strips of pizza
   gooey on the inside.                                  dough tied in a knot, baked, and then topped with
                                                         melted butter, garlic, and parsley.
   $ 9.50                                                $ 6.50




   Meatballs with Marinara Sauce


   $ 8.20




  Sandwiches

   Chicken Parmesan Sandwich                             Buffalo Chicken Sandwich
   Breaded chicken in marinara sauce with mozzarella     Breaded chicken breast tossed with buffalo sauce,
   and Parmesan cheese.                                  topped with blue cheese crumbles, lettuce,
                                                         tomatoes, and onions.
   $ 14.30                                               $ 14.30




   Prosciutto Sandwich                                   Turkey Club Sandwich
   Mozzarella, prosciutto, sundried tomatoes, arugula,   Boar's Head oven gold turkey, bacon, Swiss, lettuce,
   and pesto.                                            tomatoes, onions, and mayonnaise.
   $ 14.30                                               $ 14.30




   Meatball Parmesan Sandwich                            Vegetarian Sandwich
   Meatballs, red sauce, mozzarella, and parmesan        Lettuce, tomatoes, red onions, mushrooms, green
   cheese.                                               peppers, black olives, and your choice of cheese.
   $ 14.30                                               $ 13.60




   Cuban Sandwich                                        Capresse Sandwich
   House-made roast pork, ham, Swiss, pickles, and       Fresh mozzarella, tomatoes, and pesto.
   mustard.
   $ 14.60                                               $ 13.90




   Italian Classic Sandwich                              Tuna Melt Sandwich
   Boar’s Head ham, salami, pepperoni, provolone,        Tuna, American cheese, lettuce, onions, and
   Italian dressing, lettuce, tomatoes and onions.       tomatoes.
   $ 14.30                                               $ 14.30




   Dill Chicken Salad Sandwich                           Grilled Cheese Sandwich
                                                         Creamy grilled cheese sandwich.


   $ 14.30                                               $ 9.99




   Steak & Cheese Sandwich                               BLT Sandwich
   Shaved ribeye, provolone, onions, green peppers,      Bacon, lettuce, and tomatoes.
   and mushrooms.
   $ 14.60                                               $ 11.80




   Gyro Sandwich                                         Build Your Own Sandwich
                                                         Choice of bread, one meat, one cheese, and
                                                         condiment, with lettuce, tomatoes, and onions.
   $ 14.30                                               $ 13.60




  Soups

   Soup of The Day


   $ 8.80




  Salads

   Chef Salad                                            Lake Nona Market Salad
   Romaine lettuce topped with tomatoes, bacon, ham,     Romaine lettuce, crisp apple, dried cranberries, and
   turkey, red onions, cheddar cheese, and boiled egg.   homemade candied walnut/pecans.
   $ 14.20                                               $ 14.20




   Caesar Salad                                          The Greek Salad
   Romaine lettuce, Parmesan, and homemade               Romaine lettuce, feta cheese, tomatoes, onions,
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   croutons.                                              kalamata olives, pepperoncini & green peppers.

   $ 13.20                                                $ 14.00




   Buffalo Chicken Salad                                  Tuna Salad
   Romaine lettuce, topped with grilled buffalo chicken   Romaine lettuce topped with tuna, tomatoes, red
   strips, red onions and blue cheese crumbles            onions, kalamata olives, and cheddar cheese.
   $ 14.00                                                $ 14.00




   Garden Salad
   Romaine lettuce, tomatoes, red onions, green
   peppers, croutons, black olives, and banana
   peppers.
   $ 13.20




  Super Foods

   Cachapa with Cheese                                    2 Vegan Hot Dog
   Sweet corn pancakes with fresh soft white cheese.


   $ 14.10                                                $ 10.35




   Cheese Burger With Chips                               French Fries
   Beef patty, cheddar cheese, lettuce, tomatoes,
   onions, pickles, mayonnaise, mustard, and ketchup.
   $ 11.20                                                $ 5.80




   Two Hot Dogs & Chips                                   Chicken Tenders and French Fries


   $ 9.25                                                 $ 13.50




   Chicken Wings                                          Impossible Burger with chips
   Chicken wings with carrots, celery, and blue cheese
   dressing.
   $ 13.20                                                $ 13.35




   Tequenos                                               Chicken Nuggets (5)


   $ 9.65                                                 $ 8.80




  Desserts

   2 Big Red Velvet Cookies                               Cookies


   $ 7.10                                                 $ 5.10




   Nutella Knots                                          Gelato From Gelato-Go


   $ 8.50                                                 $ 9.42




  Snacks and Candies

   Snickers 1.86 Oz                                       Hershey´s Cookies and Creme 1.55 oz


   $ 3.70                                                 $ 3.70




   Milkyway 1.84 Oz                                       Hershey´s Milk Chocolate 1.55 oz


   $ 3.70                                                 $ 3.70




   Twix 1.79 Oz                                           M&M's Peanut 1.74 oz


   $ 3.70                                                 $ 3.70




   KitKat 1.5 Oz                                          Skittles Original 2.17 oz
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   $ 3.70                          $ 3.70




   Reese's 1.5 Oz                  M&M´s Chocolate 1.74 oz


   $ 3.70                          $ 3.70




   Crunch 1.55 Oz


   $ 3.70




  Smoothies

   Mixed Tropical Fruit Smoothie   Pineapple Smoothie


   $ 8.00                          $ 8.00




   Strawberry Smoothie             Mango Smoothie


   $ 8.00                          $ 8.00




  Beverages

   20 Oz Drinks                    Powerade Fruit Ponche


   $ 3.40                          $ 4.60




   Milkshake                       Powerade Mixed Berry ZERO SUGAR


   $ 12.15                         $ 4.60




   Perrier 19.9 Oz                 Monster


   $ 5.80                          $ 4.60




   Soda                            Monster Zero Sugar


   $ 3.10                          $ 4.60




   Gold Peak Green Tea             Spindrift Lime


   $ 6.50                          $ 3.10




   Gold Peak Unsweetened Tea       Spindrift Grapefruit


   $ 6.50                          $ 3.10




   Gold Peak Georgia Peach Tea     Spindrift Lemon


   $ 6.50                          $ 3.10




   Body Armor Superior Hydration   Minute Maid Apple


   $ 4.60                          $ 4.60




   Body Armor                      Minute Maid Orange
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   $ 4.60                                                        $ 4.60




   Core Power 42g Complete Protein Strawberry                    Minute Maid Tropical


   $ 4.60                                                        $ 4.60




   Core Power 42g Complete Protein Chocolate                     Red Bull 8.4 Oz


   $ 4.60                                                        $ 3.10




   Core Power 42g Complete Protein Vanilla                       Dasani Water


   $ 4.60                                                        $ 2.50




  Breakfasts

       Only available 9:00 AM    - 11:45   AM


   1) Bacon,   scrambled eggs and american cheese                10) Plain Bagel - Bagel and cream cheese
   Mexican Breakfast Burrito                                     Bagel


   $ 10.36                                                       $ 5.40




   2) Sausage, scrambled eggs and american cheese                11) American   Bagel - Bacon, egg and cream cheese
   Mexican Breakfast Burrito                                     Bagel


   $ 10.36                                                       $ 10.60




   3) Veggies, scrambled eggs and american cheese (tomato,       12) Italian Bagel - Cream cheese, onion, salt, pepper,
   onion, green pepper, mushrooms)                               prosciutto, olive oil, arugula
                                                                 Bagel


   $ 10.36                                                       $ 11.90




   4) Bacon, scrambled eggs and american cheese                  Scramble Eggs, American Cheese, Bacon
   French Breakfast Croissant


   $ 10.00                                                       $ 11.50




   5) Ham, scrambled eggs and american cheese                    Scramble Eggs, Swiss Cheese, Ham
   French Breakfast Croissant


   $ 10.00                                                       $ 11.50




   6) Veggies, scrambled eggs and american cheese                Scramble Eggs, American Cheese, Veggies
   French Breakfast Croissant


   $ 10.00                                                       $ 11.50




   7) American full protein Bacon, ham, sausage, egg and         Scramble Eggs With BLT (Bacon, Lettuce and Tomatoes)
   mozzarellaBreakfast
   American     cheese Bowl

   $ 11.80                                                       $ 11.50




   8) American Veggies. Tomato, onion, green pepper, mushroom,   Breakfast Pizza
   egg and mozzarella
   American             cheese
            Breakfast Bowl                                       Parmesan, Oregano and Olive Oil


   $ 11.20                                                       $ 13.60




   9) American Vegan. Vegan hot dog, tomato, onion, green
   pepper, mushroom,
   American             chickpea
            Breakfast Bowl


   $ 11.80




  Lunch Specials

       Available from 11:00 AM    - 2:00   PM
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   Grilled Cheese Sandwich & Soup Lunch                                     2 Slices Cheese Pizza and Can Soda
   Available from 11 am - 4 pm.                                             Available from 11 am - 4 pm.


   $ 12.00                                                                  $ 12.00




   Spaghetti with Meatballs Lunch                                           White Rice, Chicken Parmesan & Caesar
   Available from 11 am - 4 pm.                                             Salad from 11 am - 4 pm.
                                                                            Available


   $ 12.00                                                                  $ 12.00




   Chef Salad Lunch                                                         Spaghetti & Chicken Parmesan Lunch
   Available from 11 am - 4 pm.                                             Available from 11 am - 4 pm.


   $ 12.00                                                                  $ 12.00




   Buffalo Chicken Salad Lunch                                              White Rice, Chicken Wings & Black Beans
   Available from 11 am - 4 pm.                                             Lunch from 11 am - 4 pm.
                                                                            Available


   $ 12.00                                                                  $ 12.00




  Appetizers Catering

   Tequenos Catering                                                        Chicken Wings Catering
   Venezuelan cheese sticks.                                                Your choice of wings.


   $ 56.25                                                                  $ 75.00




  Sandwiches & Hot Dogs Catering

   Ovengold Turkey Sandwich Platter Catering                                Dill Chicken Salad Sandwich Platter Catering
   With cheese, lettuce, tomatoes, and onions.                              With cheese, lettuce, tomatoes, and onions.


   $ 93.75                                                                  $ 93.75




   Ham Sandwich Platter Catering                                            Tuna Salad Sandwich Platter
   With cheese, lettuce, tomatoes, and onions.                              With cheese, lettuce, tomatoes, and onions.


   $ 93.75                                                                  $ 93.75




   Italian Sandwich Platter Catering                                        Hot Dogs Catering
   With cheese, lettuce, tomatoes, and onions.


   $ 93.75                                                                  $ 56.25




   Vegetarian Sandwich Platter Catering
   With cheese, lettuce, tomatoes, and onions.


   $ 81.25




  Hot Entrees Catering

   Chicken Parmesan Catering                                                Ziti Marinara Catering
   Breaded chicken cutlets with tomato sauce, mozzarella cheese, and
   parmesan.
   $ 81.25                                                                  $ 60.00




   Baked Ziti Catering                                                      Spaghettis Alfredo Catering
   Ziti with mozzarella and tomato sauce baked to perfection in our oven.   Fettuccine tossed in our creamy homemade alfredo sauce.
   Supersized for your party.
   $ 81.25                                                                  $ 100.00




  Salads Catering

   The Greek Salad Catering                                                 Chef Salad Catering
   Romaine with feta, tomatoes, onions, Kalamata olives, pepperoncini,      Romaine with tomatoes, bacon, ham, turkey, red onion, cheddar, and
   and green peppers.                                                       boiled egg.
   $ 60.00                                                                  $ 81.25




   Lake Nona Market Salad Catering                                          Caesar Salad Catering
   Romaine with apples, dried cranberries, and candied walnuts & pecans.    Romaine with Parmesan, croutons, and Caesar dressing.
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   $ 60.00                                                                                 $ 60.00




   Tuna Salad Catering                                                                     Garden Salad Catering
   Romaine with tuna, tomatoes, cheddar, red onions, and Kalamata olives.                  Romaine with diced tomatoes, red onions, green peppers, croutons,
                                                                                           black olives, and banana peppers.
   $ 81.25                                                                                 $ 60.00




  Sides Catering

   Meatballs & Marinara Catering


   $ 62.50




  Desserts Catering

   Nutella Knots Catering                                                                  Cookies Catering
                                                                                           Your choice of cookies.


   $ 50.00                                                                                 $ 43.75




  Beer & Wine

   Cabernet Sauvignon                                                                      Moscatto


   $ 16.00                                                                                 $ 16.00




   Pinot Grigio                                                                            Chardonay


   $ 16.00                                                                                 $ 16.00




   Sauvignon Blanc                                                                         Sangria


   $ 16.00                                                                                 $ 18.40




                  Ratings & Reviews
                                                                                    4.9
                                                                                  227 ratings

                  4 Reviews

                   Sort                               Filter
                   Most Recent                        Star Ratings



                  Feb 20, 2022        Good experience

                                      Verified Slice Customer

                  Was this helpful?     0         0                                                                                               Flag



                  May 29, 2021        The food was great and the order was ready timely.

                                      Kimberly R.

                  Was this helpful?     0         0                                                                                               Flag



                  Sep 13, 2020        Easy to order, pizza was on time!

                                      Javier A.

                  Was this helpful?     0         0                                                                                               Flag



                  Jul 19, 2020        Fast reliable and accurate

                                      Francisco R.

                  Was this helpful?     0         0                                                                                               Flag




                  Have a question about this? Ask people who own it.
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                                    Start typing and see existing answers. Learn more

                                                              Does Lake Nona Deli & Market have online ordering?
                                           Answer:            Yes, Lake Nona Deli & Market has online ordering through Slice, the largest pizza brand in the US.

                                                              Does Lake Nona Deli & Market offer delivery?
                                           Answer:            Lake Nona Deli & Market does offer delivery. Delivery is $5.

                                                              Does Lake Nona Deli & Market offer curbside pickup?
                                           Answer:            Yes, Lake Nona Deli & Market has curbside pickup service available.

                                                              Where is Lake Nona Deli & Market located?
                                           Answer:            Lake Nona Deli & Market is located at 8510 Insular Ln, Orlando, FL 32827.

                                                              What are the hours for Lake Nona Deli & Market?
                                           Answer:            Lake Nona Deli & Market is open every day of the week. Here are their full hours. Please remember that these
                                                              times can change.
                                                              Monday: 9:00 am - 8:30 pm
                                                              Tuesday: 9:00 am - 8:30 pm
                                                              Wednesday: 9:00 am - 8:30 pm
                                                              Thursday: 9:00 am - 8:30 pm
                                                              Friday: 9:00 am - 8:30 pm
                                                              Saturday: 10:00 am - 8:30 pm
                                                              Sunday: 11:00 am - 7:30 pm

                                                              What time does Lake Nona Deli & Market close?
                                           Answer:            Lake Nona Deli & Market closes at 8:30 pm every day except Sunday when they close at 7:30 pm.

                                                              What time does Lake Nona Deli & Market open?
                                           Answer:            Lake Nona Deli & Market opens at 9:00 am every day except Saturday when they open at 10:00 am Sunday
                                                              when they open at 11:00 am.

                                                              Is Lake    Nona Deli & Market open on Sunday?
                                           Answer:            Currently, Lake Nona Deli & Market plans to be open on Sunday from 11:00 am to 7:30 pm for Delivery and
                                                              Pickup. These hours can change so be sure to check back.

                                                              Does Lake Nona Deli & Market have any deals?
                                           Answer:            Lake Nona Deli & Market is not currently offering deals.

                                                              What food is served at Lake Nona Deli & Market?
                                           Answer:            Lake Nona Deli & Market makes vegan pizza, healthy pizza, veggie pizza and more!

                                                              Does Lake Nona Deli & Market have wings?
                                           Answer:            Yes, Lake Nona Deli & Market has chicken wings, white rice, chicken wings & black beans lunch and chicken
                                                              wings catering.

                                                              Does Lake Nona Deli & Market offer vegan or vegetarian pizza?
                                           Answer:            Yes, Lake Nona Deli & Market has both vegan and vegetarian options.

                                                              Does Lake Nona Deli & Market have thin crust pizza?
                                           Answer:            It   doesn't look like there are thin crust options at Lake Nona Deli & Market.


                                                  Lake Nona Deli & Market - View Menu & Order Online - 8510 Insular Ln, Orlando, FL 32827 - Slice
                                                  Slice  FL    Orlando   32827    Lake Nona Deli & Market
                                                  Price: $$
                                                  Cuisine: vegan pizza healthy pizza veggie pizza
                                                                              ,                ,




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                                                          Pizza Near Me

                                                          Pickup Service Near Me

                                                          Top Brands




Browse Delivery or Pickup by City

New York City                                             Brooklyn                                            Bronx

Staten Island                                             Philadelphia                                        Baltimore

Chicago                                                   Las Vegas                                           Nashville

Seattle                                                   San Francisco                                       Boston

View All Cities



Browse by Pizza Types

New York Pizza                                            Sicilian Pizza                                      Veggie Pizza

Deep Dish Pizza                                           By the Slice                                        Gluten Free Pizza

Neapolitan Pizza                                          Tomato Pie                                          Grandma Pizza

Thin Crust Pizza                                          Stuffed Pizza                                       Thick Crust Pizza

View All Pizza Types
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Browse by Dishes

Caesar Salad                         Cheesecake                                      Cheeseburger Sub

Cheesesteak                          Cookies                                         French onion soup

Fried Chicken                        Pasta                                           Pierogies

Shrimp                               Stromboli                                       Wings

View All Dish Types



More Restaurants

The Bronx Pizza                      Cicis Pizza                                     Real New York Pizza

The New York Pizza Company           Tartini Pizzeria &                              Napoli Italian Pizzeria
                                     Spaghetteria

Ferrara Pizza & Pasta                Beirut Bakery & Deli                            Real New York Pizza

El Rapido   Pizza Cubana             Buca Di Beppo                                   Mario's Pizza & Subs

Chaat House Restaurant               Nexus Pizza                                     Antonio's House of Pizza

Anthony's Pizza                      Pie Fection                                     Cicis Pizza

A Slice of NY Pizza                  Mama Romano's                                   Nona Street Pizza



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Lake Nona Deli & Market       open now    9:00 AM-8:30 PM                                                                                          8510 Insular Ln, Orlando, FL 32827   Menu     Hours     About




                                                            Lake Nona Deli & Market
                                                                                View Menu                            Start Order




                                                                                                                                                             Your Order
      Most Popular Items

        Cheese Pizza                                                       Chicken Parmesan Sandwich                                                                  Delivery                 Pickup
        Classic cheese or create your own pizza.                           Breaded chicken in marinara sauce with mozzarella and                                     20 - 35 min           15 - 30 min
                                                                           Parmesan cheese.
                                                                                                                                                                  No address                        Add address
        $16.30                                                             $12.48




        Cachapa with Cheese                                                Classic Supreme Pizza
        Sweet corn pancakes with fresh soft white cheese.                  Pepperoni, sausage, ham, onions, green peppers, mushrooms,
                                                                           banana peppers, and black olives.

        $12.36                                                             $21.25




        Cuban Sandwich                                                     Classic Meat Pizza
        House-made roast pork, ham, Swiss, pickles, and mustard.           Pepperoni, sausage, ham, and bacon.


        $12.80                                                             $21.25




        Impossible Burger with Chips                                       Smoothies
        Brioche bread, veggie patty, cheddar cheese, lettuce, tomatoes,    Your choice of flavor.
        onions, pickles, ketchup, mustard, and mayonnaise.

        $11.56                                                             $6.10




        Steak & Cheese Sandwich                                            Garlic Knots
        Shaved ribeye, provolone, onions, green peppers, and               A classic snack, our garlic knots are strips of pizza dough tied in
        mushrooms.                                                         a knot, baked, and then topped with melted butter, garlic, and
                                                                           parsley.
        $12.80                                                             $5.62




      Pizzas

        Cheese Pizza
        Classic cheese or create your own pizza.


        $18.00




      Specialty Pizza

        Adore Deli Pizza                                                   Marisa Pizza
        Mixed marinara and alfredo sauce, mozzarella, onions, bacon,       Mozzarella, sundried tomatoes, goat cheese, prosciutto, and
        mushrooms, and parmesan cheese.                                    arugula.

        $22.00                                                             $25.00
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  Classic Supreme Pizza                                            Classic Meat Pizza
  Pepperoni, sausage, ham, onions, green peppers, mushrooms,       Pepperoni, sausage, ham, and bacon.
  banana peppers, and black olives.

  $25.00                                                           $25.00




  Chicken Pesto Pizza                                              BBQ Chicken Pizza
  Pesto base, chicken, mozzarella, and tomatoes.                   BBQ chicken, red onions, mushrooms, bacon, and BBQ sauce.


  $22.00                                                           $23.00




  Buffalo Chicken Pizza                                            Bianca Pizza
  Breaded chicken breast, buffalo sauce, mozzarella, and blue      Alfredo sauce, mozzarella, ricotta cheese, parsley flakes, and
  cheese crumbles.                                                 garlic oil.

  $22.00                                                           $22.00




  Vegetarian Pizza                                                 Margherita Pizza
  Onions, green peppers, tomatoes, mushrooms, banana peppers,      Pizza red sauce, tomatoes, pesto, and mozzarella.
  and black olives.

  $20.00                                                           $20.00




  Hawaiian Pizza                                                   Vegan Pizza
  Ham and pineapple.                                               Marinara sauce, chickpeas, broccoli, onions, tomatoes,
                                                                   mushrooms and arugula.

  $22.00                                                           $22.00




 Pizzas Premium

  Carbonara                                                        Amore Mio
  Alfredo base, mozzarella, bacon, onion, grilled chicken          Alfredo base, mozzarella, mushroom, onion, goat cheese, honey


  $49.50                                                           $49.50




  Bianca Quattro Formaggi                                          Napolitana Quattro Formaggi
  Alfredo Base, mozarella, blue cheese, provolone, parmesano       Marinara base, mozzarella, blue cheese, provolone, parmesano


  $49.50                                                           $49.50




  Napolitana                                                       Prosciutto e Funchi
  Marinara base, mozzarella, tomato, basil, parmesano              Pizza sauce, mozzarella, mushroom, prosciutto


  $49.50                                                           $49.50




 Pastas

  Ziti Marinara                                                    Ziti Marinara with Meatballs




  $12.10                                                           $13.20




  Ziti Marinara with Chicken Parmigiana                            Ziti Adore
  Breaded chicken with marinara or alfredo sauce, mozzarella       Mixed marinara with alfredo.
  cheese, and parmesan cheese.

  $14.00                                                           $12.60




  Baked Ziti                                                       Ziti Brocoli
  Ziti baked with ricotta, mozzarella, marinara sauce, Parmesan    Broccoli, garlic, and olive oil.
  cheese, and parsley flakes.

  $13.20                                                           $13.20




  Ziti Mushrooms                                                   Ziti Pesto
  Mushrooms, garlic butter, alfredo sauce, white wine, and
  parmesan cheese.

  $14.00                                                           $12.10
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  Ziti Alfredo




  $12.10




 Calzones

  Calzone                                                                Vegan Calzone
  Mozzarella, ricotta, and a side of marinara sauce.                     Marinara sauce, chickpeas, broccoli, onions, tomatoes, and
                                                                         mushrooms, topped with arugula.

  $20.00                                                                 $22.50




 Appetizers

  Bruschetta                                                             Sliders
  Garlic, pesto, onions, tomatoes, and shredded mozzarella.              Garlic knots stuffed with choice of pepperoni or meatballs,
                                                                         topped with mozzarella cheese.

  $9.20                                                                  $8.80




  Mozzarella Sticks                                                      Meatballs with Marinara Sauce
  Deep fried cheese sticks. Crispy on the outside, gooey on the
  inside.

  $9.50                                                                  $8.20




  Garlic Bread                                                           Garlic Bread with Cheese
  Bread, topped with garlic, herb seasoning, baked to perfection.        French garlic bread with cheese served with marinara sauce.


  $4.37                                                                  $4.80




  Garlic Knots
  A classic snack, our garlic knots are strips of pizza dough tied in
  a knot, baked, and then topped with melted butter, garlic, and
  parsley.
  $6.50




 Sandwiches

  Chicken Parmesan Sandwich                                              Prosciutto Sandwich
  Breaded chicken in marinara sauce with mozzarella and                  Mozzarella, prosciutto, sundried tomatoes, arugula, and pesto.
  Parmesan cheese.

  $14.30                                                                 $14.30




  Meatball Parmesan Sandwich                                             Cuban Sandwich
  Meatballs, red sauce, mozzarella, and parmesan cheese.                 House-made roast pork, ham, Swiss, pickles, and mustard.


  $14.30                                                                 $14.60




  Italian Classic Sandwich                                               Dill Chicken Salad Sandwich
  Boar’s Head ham, salami, pepperoni, provolone, Italian dressing,
  lettuce, tomatoes and onions.

  $14.30                                                                 $14.30




  Steak & Cheese Sandwich                                                Gyro Sandwich
  Shaved ribeye, provolone, onions, green peppers, and
  mushrooms.

  $14.60                                                                 $14.30




  Buffalo Chicken Sandwich                                               Turkey Club Sandwich
  Breaded chicken breast tossed with buffalo sauce, topped with          Boar's Head oven gold turkey, bacon, Swiss, lettuce, tomatoes,
  blue cheese crumbles, lettuce, tomatoes, and onions.                   onions, and mayonnaise.

  $14.30                                                                 $14.30




  Vegetarian Sandwich                                                    Capresse Sandwich
  Lettuce, tomatoes, red onions, mushrooms, green peppers,               Fresh mozzarella, tomatoes, and pesto.
  black olives, and your choice of cheese.

  $13.60                                                                 $13.90
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  Tuna Melt Sandwich                                                  Grilled Cheese Sandwich
  Tuna, American cheese, lettuce, onions, and tomatoes.               Creamy grilled cheese sandwich.


  $14.30                                                              $9.99




  BLT Sandwich                                                        Build Your Own Sandwich
  Bacon, lettuce, and tomatoes.                                       Choice of bread, one meat, one cheese, and condiment, with
                                                                      lettuce, tomatoes, and onions.

  $11.80                                                              $13.60




 Soups

  Soup of The Day




  $8.80




 Salads

  Chef Salad                                                          Caesar Salad
  Romaine lettuce topped with tomatoes, bacon, ham, turkey, red       Romaine lettuce, Parmesan, and homemade croutons.
  onions, cheddar cheese, and boiled egg.

  $14.20                                                              $13.20




  Buffalo Chicken Salad                                               Garden Salad
  Romaine lettuce, topped with grilled buffalo chicken strips, red    Romaine lettuce, tomatoes, red onions, green peppers, croutons,
  onions and blue cheese crumbles                                     black olives, and banana peppers.

  $14.00                                                              $13.20




  Lake Nona Market Salad                                              The Greek Salad
  Romaine lettuce, crisp apple, dried cranberries, and homemade       Romaine lettuce, feta cheese, tomatoes, onions, kalamata
  candied walnut/pecans.                                              olives, pepperoncini & green peppers.

  $14.20                                                              $14.00




  Tuna Salad
  Romaine lettuce topped with tuna, tomatoes, red onions,
  kalamata olives, and cheddar cheese.

  $14.00




 Super Foods

  Cachapa with Cheese                                                 Cheese Burger With Chips
  Sweet corn pancakes with fresh soft white cheese.                   Beef patty, cheddar cheese, lettuce, tomatoes, onions, pickles,
                                                                      mayonnaise, mustard, and ketchup.

  $14.10                                                              $11.20




  Two Hot Dogs & Chips                                                Chicken Wings
                                                                      Chicken wings with carrots, celery, and blue cheese dressing.


  $9.25                                                               $13.20




  Tequenos                                                            2 Vegan Hot Dog




  $9.65                                                               $10.35




  French Fries                                                        Chicken Tenders and French Fries




  $5.80                                                               $13.50
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  Impossible Burger with chips           Chicken Nuggets (5)




  $13.35                                 $8.80




 Desserts

  2 Big Red Velvet Cookies               Nutella Knots




  $7.10                                  $8.50




  Cookies                                Gelato From Gelato-Go




  $5.10                                  $9.42




 Snacks and Candies

  Snickers 1.86 Oz                       Milkyway 1.84 Oz




  $3.70                                  $3.70




  Twix 1.79 Oz                           KitKat 1.5 Oz




  $3.70                                  $3.70




  Reese's 1.5 Oz                         Crunch 1.55 Oz




  $3.70                                  $3.70




  Hershey´s Cookies and Creme 1.55 oz    Hershey´s Milk Chocolate 1.55 oz




  $3.70                                  $3.70




  M&M's Peanut 1.74 oz                   Skittles Original 2.17 oz




  $3.70                                  $3.70




  M&M´s Chocolate 1.74 oz




  $3.70




 Smoothies

  Mixed Tropical Fruit Smoothie          Strawberry Smoothie




  $8.00                                  $8.00




  Pineapple Smoothie                     Mango Smoothie




  $8.00                                  $8.00
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 Beverages

  20 Oz Drinks                                 Milkshake




  $3.40                                        $12.15




  Perrier 19.9 Oz                              Soda




  $5.80                                        $3.10




  Gold Peak Green Tea                          Gold Peak Unsweetened Tea




  $6.50                                        $6.50




  Gold Peak Georgia Peach Tea                  Body Armor Superior Hydration




  $6.50                                        $4.60




  Body Armor                                   Core Power 42g Complete Protein Strawberry




  $4.60                                        $4.60




  Core Power 42g Complete Protein Chocolate    Core Power 42g Complete Protein Vanilla




  $4.60                                        $4.60




  Powerade Fruit Ponche                        Powerade Mixed Berry ZERO SUGAR




  $4.60                                        $4.60




  Monster                                      Monster Zero Sugar




  $4.60                                        $4.60




  Spindrift Lime                               Spindrift Grapefruit




  $3.10                                        $3.10




  Spindrift Lemon                              Minute Maid Apple




  $3.10                                        $4.60




  Minute Maid Orange                           Minute Maid Tropical




  $4.60                                        $4.60




  Red Bull 8.4 Oz                              Dasani Water




  $3.10                                        $2.50
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 Breakfasts
     Only available 9:00 AM - 11:45 AM



  1) Bacon, scrambled eggs and american cheese                               2) Sausage, scrambled eggs and american cheese
  Mexican Breakfast Burrito                                                  Mexican Breakfast Burrito


  $10.36                                                                     $10.36




  3) Veggies, scrambled eggs and american cheese (tomato, onion, green       4) Bacon, scrambled eggs and american cheese
  pepper, mushrooms)                                                         French Breakfast Croissant


  $10.36                                                                     $10.00




  5) Ham, scrambled eggs and american cheese                                 6) Veggies, scrambled eggs and american cheese
  French Breakfast Croissant                                                 French Breakfast Croissant


  $10.00                                                                     $10.00




  7) American full protein Bacon, ham, sausage, egg and mozzarella cheese    8) American Veggies. Tomato, onion, green pepper, mushroom, egg and
  American Breakfast Bowl                                                    mozzarella
                                                                             American    cheeseBowl
                                                                                      Breakfast


  $11.80                                                                     $11.20




  9) American Vegan. Vegan hot dog, tomato, onion, green pepper,             10) Plain Bagel - Bagel and cream cheese
  mushroom,
  American     chickpea
           Breakfast Bowl                                                    Bagel


  $11.80                                                                     $5.40




  11) American Bagel - Bacon, egg and cream cheese                           12) Italian Bagel - Cream cheese, onion, salt, pepper, prosciutto, olive oil,
  Bagel                                                                      arugula
                                                                             Bagel


  $10.60                                                                     $11.90




  Scramble Eggs, American Cheese, Bacon                                      Scramble Eggs, Swiss Cheese, Ham




  $11.50                                                                     $11.50




  Scramble Eggs, American Cheese, Veggies                                    Scramble Eggs With BLT (Bacon, Lettuce and Tomatoes)




  $11.50                                                                     $11.50




  Breakfast Pizza
  Parmesan, Oregano and Olive Oil


  $13.60




 Lunch Specials
     Available from 11:00 AM - 2:00 PM



  Grilled Cheese Sandwich & Soup Lunch                                       Spaghetti with Meatballs Lunch
  Available from 11 am - 4 pm.                                               Available from 11 am - 4 pm.


  $12.00                                                                     $12.00




  Chef Salad Lunch                                                           Buffalo Chicken Salad Lunch
  Available from 11 am - 4 pm.                                               Available from 11 am - 4 pm.


  $12.00                                                                     $12.00
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  2 Slices Cheese Pizza and Can Soda                                               White Rice, Chicken Parmesan & Caesar Salad
  Available from 11 am - 4 pm.                                                     Available from 11 am - 4 pm.


  $12.00                                                                           $12.00




  Spaghetti & Chicken Parmesan Lunch                                               White Rice, Chicken Wings & Black Beans Lunch
  Available from 11 am - 4 pm.                                                     Available from 11 am - 4 pm.


  $12.00                                                                           $12.00




 Appetizers Catering

  Tequenos Catering                                                                Chicken Wings Catering
  Venezuelan cheese sticks.                                                        Your choice of wings.


  $56.25                                                                           $75.00




 Sandwiches & Hot Dogs Catering

  Ovengold Turkey Sandwich Platter Catering                                        Ham Sandwich Platter Catering
  With cheese, lettuce, tomatoes, and onions.                                      With cheese, lettuce, tomatoes, and onions.


  $93.75                                                                           $93.75




  Italian Sandwich Platter Catering                                                Vegetarian Sandwich Platter Catering
  With cheese, lettuce, tomatoes, and onions.                                      With cheese, lettuce, tomatoes, and onions.


  $93.75                                                                           $81.25




  Dill Chicken Salad Sandwich Platter Catering                                     Tuna Salad Sandwich Platter
  With cheese, lettuce, tomatoes, and onions.                                      With cheese, lettuce, tomatoes, and onions.


  $93.75                                                                           $93.75




  Hot Dogs Catering




  $56.25




 Hot Entrees Catering

  Chicken Parmesan Catering                                                        Baked Ziti Catering
  Breaded chicken cutlets with tomato sauce, mozzarella cheese, and parmesan.      Ziti with mozzarella and tomato sauce baked to perfection in our oven. Supersized for
                                                                                   your party.

  $81.25                                                                           $81.25




  Ziti Marinara Catering                                                           Spaghettis Alfredo Catering
                                                                                   Fettuccine tossed in our creamy homemade alfredo sauce.


  $60.00                                                                           $100.00




 Salads Catering

  The Greek Salad Catering                                                         Lake Nona Market Salad Catering
  Romaine with feta, tomatoes, onions, Kalamata olives, pepperoncini, and green    Romaine with apples, dried cranberries, and candied walnuts & pecans.
  peppers.

  $60.00                                                                           $60.00




  Tuna Salad Catering                                                              Chef Salad Catering
  Romaine with tuna, tomatoes, cheddar, red onions, and Kalamata olives.           Romaine with tomatoes, bacon, ham, turkey, red onion, cheddar, and boiled egg.


  $81.25                                                                           $81.25
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            Caesar Salad Catering                                                            Garden Salad Catering
            Romaine with Parmesan, croutons, and Caesar dressing.                            Romaine with diced tomatoes, red onions, green peppers, croutons, black olives, and
                                                                                             banana peppers.

            $60.00                                                                           $60.00




       Sides Catering

            Meatballs & Marinara Catering




            $62.50




       Desserts Catering

            Nutella Knots Catering                                                           Cookies Catering
                                                                                             Your choice of cookies.


            $50.00                                                                           $43.75




       Beer & Wine

            Cabernet Sauvignon                                                               Pinot Grigio




            $16.00                                                                           $16.00




            Sauvignon Blanc                                                                  Moscatto




            $16.00                                                                           $16.00




            Chardonay                                                                        Sangria




            $16.00                                                                           $18.40




Lake Nona Deli & Market
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                                                                                                                                                 9:00 AM-8:30 PM                           open now
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